 Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 1 of 28 PageID #: 308



                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

KINSALE INSURANCE COMPANY,                 §§
                                           §§
               Plaintiff,                  §§
                                           §§
vv..                                       §§      Civil Action No. 6:19-cv-00413-JCB
                                           §§
ETOPSI OIL & GAS LLC dba EAST              §§
TEXAS OILFIELD PRODUCTIONS                 §§
SVC, INC. and MCBRIDE                      §§
OPERATING, LLC,                            §§
                                           §§
               Defendants.                 §§
                              COMPANY’S MOTION FOR FINAL
            KINSALE INSURANCE COMPANY'S
       SUMMARY JUDGMENT AND INCORPORATED MEMORANDUM OF LAW

        Kinsale Insurance Company ("Kinsale"),
                                  (“Kinsale”), pursuant to Fed. R. Civ. P. 56, moves for final

summary judgment against ETOPSI Oil & Gas LLC ("ETOPSI")
                                              (“ETOPSI”) and McBride Operating, LLC

(“McBride”), and states:
("McBride"),
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 2 of 28 PageID #: 309



                                                   TABLE OF CONTENTS

INTRODUCTION..........................................................................................................................1
INTRODUCTION                                                                                                                          1

STATEMENT OF THE ISSUES..................................................................................................2
                                                                                                                         2

SUMMARY JUDGMENT EVIDENCE ......................................................................................2
                                                                                                                2

STATEMENT OF UNDISPUTED MATERIAL FACTS ..........................................................3
                                                                                                 3

          McBride’s Pre-Petition Demand. .........................................................................................3
          McBride's                                                                                                               3

          McBride’s Original Petition
          McBride's          Petition. ................................................................................................3
                                                                                                                                       3

          McBride’s Amended Petition ..............................................................................................4
          McBride's                                                                                                                4

          The Kinsale Surplus Lines CGL Policy...............................................................................4
                                                                                                                             4

          This Coverage Action ..........................................................................................................66

ARGUMENT AND CITATION OF AUTHORITY...................................................................7
                                                                                                     7

          Summary Judgment Standard ..............................................................................................7
                                                                                                                                  7

          Choice of
                 of Law ......................................................................................................................7
                                                                                                                                              7

          Insurance Policy Interpretation Principles .........................................................................8
                                                                                                                              8

          Duty to Defend Standard .....................................................................................................8
                                                                                                                                       8

I.        THERE IS NO "PROPERTY
                      “PROPERTY DAMAGE"
                                DAMAGE”......................................................................99

                  McBride’s Petition Seeks Purely Economic Damages ............................................99
               A. McBride's

               B. There Was No "Loss
                                 “Loss of Use"
                                          Use” Because the
                  Injection Well Never Previously Existed...............................................................11
                                                                                                                        11

II.       THE PROFESSIONAL LIABILITY EXCLUSION PRECLUDES
          COVERAGE ....................................................................................................................12
                                                                                                                                       12

               A. McBride Admits it Sued ETOPSI for Professional Services .................................13
                                                                                                           13

               B. ETOPSI Provided McBride with Professional Services ........................................17
                                                                                                             17

III.      THE POLICY’S
              POLICY'S J.(5) AND J.(6) EXCLUSIONS BAR COVERAGE .......................19
                                                                                      19




                                                                      i
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 3 of 28 PageID #: 310



IV.       BECAUSE KINSALE HAS NO DUTY TO DEFEND, THERE IS
          NO DUTY TO INDEMNIFY ..........................................................................................22
                                                                                                                         22

V.        THERE ARE NO APPLICABLE AFFIRMATIVE DEFENSES ...............................23
                                                                                      23

VI.       ETOPSI IS NOT ENTITLED TO DAMAGES UNDER CHAPTER 542 ..................24
                                                                                24

CONCLUSION ............................................................................................................................24
                                                                                                                                       24

CERTIFICATE OF SERVICE ..................................................................................................25
                                                                                                                         25




                                                                   ii
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 4 of 28 PageID #: 311



                                      INTRODUCTION

       The issues in this action are straightforward. Essentially, ETOPSI was hired by McBride

as a consultant to design and supervise the construction of a new, injection well in Rusk County,

Texas. ETOPSI determined the appropriate total depth of the hole, drilled down to that

depth, and then cemented the casing into place. It was later determined that the hole was not

deep enough. The depth was at least 200 feet shorter than necessary to reach the desired

geological formation. Stated as simply as possible, the injection well did not function as it was

intended. McBride attempted to rework the well to a deeper depth, but that proved unsuccessful.

As a result, McBride was forced to rebuild a new, second injection well. McBride has now sued

ETOPSI, claiming it has incurred over $1.7 Million in expenses to correct ETOPSI’s
                                                                          ETOPSI's work

and rebuild the second well.

       Kinsale insured ETOPSI under a commercial general liability policy, not a professional

liability policy and not a performance bond for faulty work. As more fully explained below,

ETOPSI was sued for economic damages for building a new, functioning well. ETOPSI was

not sued for "property
             “property damage,"
                       damage,” which is required for coverage under the policy's
                                                                         policy’s Insuring

Agreement. Moreover, in acting as a consultant that designed the injection well, ETOPSI was

providing professional services, which are excluded under the Professional Liability Exclusion.

Indeed, McBride, the plaintiff in the underlying action, admitted in its answer that ETOPSI

was providing it with professional services. Last, to the extent ETOPSI was responsible for

providing a functioning injection well and failed to do so, there is also no coverage under the

Damage to Property Exclusion. As decided by the Fifth Circuit and numerous other district

courts applying Texas law, Kinsale is entitled to summary judgment as a matter of law.




KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                              P
                                                                                         PAGE
                                                                                           AGE 1
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 5 of 28 PageID #: 312



                                 STATEMENT OF THE ISSUES

        1.      Whether Kinsale has a duty to defend ETOPSI; more specifically:

                                    “property damage”
                a. Whether there is "property damage" under the Insuring Agreement?

                b. Whether the Professional Liability Exclusion precludes coverage?

                c. Whether the Damage to Property Exclusion precludes coverage?

                d. Whether the Duty to Defend Exclusion precludes coverage?

        2.      If the Court rules that Kinsale has no duty to defend, whether Kinsale has a duty

to indemnify?

        3.      If there is no coverage, whether Kinsale has liability under the Texas Insurance

Code’s Prompt Payment Act (Chapter 542)?
Code's

                             SUMMARY JUDGMENT EVIDENCE

        In addition to the pleadings, Kinsale relies on the following summary judgment evidence

                                  motion:1
filed contemporaneously with this motion:1

                Exhibit             Description
                A.                  McBride’s Pre-Petition Demand
                                    McBride's
                B.                  McBride’s Original Petition
                                    McBride's
                C.                  Kinsale’s Denial Letter
                                    Kinsale's
                D.                  McBride’s Second Amended Petition
                                    McBride's
                E.                  Composite of Kinsale Policy Declaration Pages
                F.                  The Applicable Kinsale Policy
                G.                  McBride’s Initial Disclosures
                                    McBride's
                H.                  Declaration of J. Daniel Arthur, P.E., SPEC




11 Pursuant to Local Rule CV-56(d), the cited portions of the attached exhibits are highlighted.


KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                                        P
                                                                                                   PAGE
                                                                                                     AGE 2
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 6 of 28 PageID #: 313



                     STATEMENT OF UNDISPUTED MATERIAL FACTS

       McBride’s Pre-Petition Demand
       McBride's

       1.         Before filing suit, McBride's
                                      McBride’s counsel sent a demand letter to Kinsale. He alleged

McBride was hired to supervise the drilling of a new injection well, but that the casing was too

shallow. He threatened economic damages of approximately $1,800,000 to correct McBride's
                                                                               McBride’s

error. (Ex. A.)

       McBride’s Original Petition
       McBride's

       2.         On 7/9/2018, McBride filed suit against ETOPSI in the District Court for Rusk

County, Texas, Cause No. 2018-175, for consulting services in connection with a well drilling

        (“Underlying Action").
project ("Underlying Action”). (Ex. B.)

       3.         The original petition alleged McBride owned "McBride
                                                              “McBride #1."
                                                                       #1.” (Id., Pg. 5, ¶5.)

McBride hired ETOPSI as the "drilling
                            “drilling consultant,"
                                      consultant,” and that "ETOPSI
                                                            “ETOPSI was in control of the

         operation.” (Id.; see also, DE 5, ¶11, McBride's
drilling operation."                            McBride’s judicial admission it "hired"
                                                                                “hired” ETOPSI.)

       4.                              “on or about October 24, 2017, [ETOPSI] completed the
                  McBride alleged that "on

drilling on the McBride #1.”
                        #1." (Ex. B, ¶5.)

       5.                                                    “the casing was not set deep enough
                  According to McBride, the problem was that "the
                           2
             Woodbine.” (Id.)
to reach the Woodbine."2

       6.         As a result of ETOPSI’s
                                 ETOPSI's errors, McBride "incurred
                                                          “incurred damages in correcting the

                   [ETOPSI].” (Id.)
problem created by [ETOPSI]."




2
2The "Woodbine"
      “Woodbine” consists of geological formations in east Texas that have been "tremendous
                                                                                “tremendous
                                1970s.” (See M. Dokur and T.F. Hentz, RESERVOIRS
oil and gas producers since the 1970s."                               RESERVOIRS
CHARACTERIZATION OF THE UPPER
CHARACTERIZATION            UPPER CRETACEOUS
                                   CRETACEOUS WOODBINE
                                                WOODBINE GROUP
                                                           GROUP IN NORTHEAST
                                                                     NORTHEAST T TEXAS  FIELD,
                                                                                   EXAS FIELD,
T EXAS, American Assoc. of Petroleum Geologists, Search and Discovery Article #10331 (2011),
TEXAS,
             http://www.searchanddiscovery.com/documents/2011/10331bunge/ndx_bunge.pdf
available at http://www.searchanddiscovery.com/documents/2011/1033     lbunge/ndx_bunge.pdf (last
visited May 10, 2020).)


KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT
KINSALE’S                                                                                  PAGE
                                                                                           P AGE 3
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 7 of 28 PageID #: 314



        McBride’s Amended Petition
        McBride's

        7.      On 7/30/2018, Kinsale disclaimed coverage. (Ex. C.) Among others, Kinsale

denied coverage because McBride claimed damages for repairing and replacing ETOPSI’s
                                                                            ETOPSI's faulty

work. (Id., Pgs. 4, 6.)

        8.      After receiving a copy of Kinsale's
                                          Kinsale’s disclaimer, on 3/12/2019, McBride filed a

Second Amended Petition. (Ex. D.)

        9.      The pleading alleges that on 10/25/2017, ETOPSI, "as
                                                                 “as the oil and gas industry

consultant, decided that the drilling was complete.”
                                          complete." (Ex. D, Pg. 3, ¶5.)

        10.     It alleges that ETOPSI "designed
                                       “designed the injection well"     McBride.3 (Id.)
                                                               well” for McBride.3

        11.                                “engaged the drilling contractor,"
                Further, it alleges ETOPSI "engaged              contractor,” "consulted
                                                                              “consulted with and

advised the owner [McBride] and the drilling contractor,"
                                             contractor,” "decided
                                                          “decided the total depth of the hole,"
                                                                                          hole,”

“decided on how deep to set the casing,"
"decided                        casing,” and "was
                                             “was in control of the drilling operation."
                                                                             operation.” (Id.)

        12.                                                                    “the work or product
                Alternatively, like the original petition, McBride alleges the "the

of [ETOPSI] failed to fulfill the terms of the contract or agreement between [McBride] and

             [ETOPSI]’s work product."
[ETOPSI] and [ETOPSI]'s      product.” (Id.)

        The Kinsale Surplus Lines Policy

        13.     ETOPSI could not obtain coverage from an admitted insurance company.

Consequently, ETOPSI had no alternative but to pursue insurance through the surplus lines

market. Unlike admitted insurers, surplus lines insurers provide more strict coverage because




3
3    “injection well inject[s] fluids into a reservoir for the purpose of enhanced oil recovery from the
  An "injection
reservoir.” (See Railroad Commission of Texas, IINJECTION
reservoir."                                                         DISPOSAL WELLS,
                                                    NJECTION AND DISPOSAL     WELLS, available at
https://www.rrc.state.tx.us/about-us/resource-center/faqs/oil-gas-faqs/faq-injection-and-disposal-
https://wwwsrc.state.tx.us/about-us/resource-center/faqs/oil-gas-faqs/faq-injection-and-disposal-
wells/ (last visited May 10, 2020).)



KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                                     P
                                                                                                PAGE
                                                                                                  AGE 4
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 8 of 28 PageID #: 315



                                                                 Insurance.44 See Tex. Ins. C.
they do not have their forms approved by the Texas Department of Insurance.

981.004(a).

       14.     On 1/23/2015, Kinsale issued a Policy to ETOPSI, which was renewed three

more times. Every policy included the same relevant forms, including the Professional Liability

Exclusion. (Ex. E.)

       15.     Pertinent to this action is Policy No. 0100026163-2, which was effective for the

period from 1/23/2017 to 1/23/2018. (Ex. F.)

       16.     The Policy includes these provisions:

       SECTION I —
                 – COVERAGES

       COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY

       1.      Insuring Agreement

               a.     We will pay those sums that the insured becomes legally obligated
                                                    “bodily injury"
                      to pay as damages because of "bodily  injury” or "property
                                                                       “property
                      damage” to which this insurance applies. We will have the right
                      damage"
                      and duty to defend the insured against any "suit"
                                                                 “suit” seeking those
                      damages. However, we will have no duty to defend the insured
                                  “suit” seeking damages for "bodily
                      against any "suit"                      “bodily injury"
                                                                      injury” or
                      “property damage"
                      "property  damage” to which this insurance does not apply. …...

       2.      Exclusions

               This insurance does not apply to: …
                                                 ...

               j.
               J.     Damage To Property

                      “Property damage"
                      "Property damage” to: …
                                            ...

                      (5)
                      (5)     That particular part of real property on which you or any
                              contractors or subcontractors working directly or indirectly
                              on your behalf are performing operations, if the "property
                                                                               “property
                              damage” arises out of those operations; or …
                              damage"                                     ...



4
4For general background information regarding surplus lines insurance, see S SURPLUS LINES INSURERS,
                                                                              URPLUS LINES INSURERS,
https://www.tdi.texas.gov/insurer/surpluslines.html (last visited May 10, 2020).


KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                                  P
                                                                                             PAGE
                                                                                               AGE 5
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 9 of 28 PageID #: 316



                       (6)    That particular part of any property that must be restored,
                              repaired or replaced because your work was incorrectly
                              performed on it. …
                                               ...

                              Paragraph (6) of this exclusion does not apply to "property
                                                                                “property
                              damage” included in the "products-completed
                              damage"                    “products-completed operations
                              hazard”.
                              hazard".

(Ex. E, Pgs. 6, 9.)

       17.      In addition, the Policy contains an Additional Policy Exclusions endorsement

(Form CAS3043 0117), which provides as follows:

       DUTY TO DEFEND EXCLUSION

        Where there is no coverage under this policy, there is no duty to defend.

        PROFESSIONAL LIABILITY EXCLUSION

       This insurance does not apply to professional liability, malpractice, errors, or
       omissions or acts of any type including rendering or failure to render any type of
       professional service nor to any expenses or any obligation to share damages with
       or repay anyone else who must pay damages from same, unless such Professional
       Liability coverage is specifically endorsed onto this policy.

(Ex. E, Pg. 47.) ETOPSI did not ever purchase Professional Liability coverage from Kinsale.

       D.       This Coverage Action

       18.     Kinsale seeks a declaration that it has no duty to defend or indemnify ETOPSI in

the Underlying Action. First, the Underlying Action contains no factual allegations of "property
                                                                                       “property

damage” to satisfy the Insuring Agreement. This is a breach of contract action for economic
damage"

damages. Second, the underlying claims are expressly excluded by the broad Professional

Liability Exclusion. Third, various exclusions known as "business
                                                        “business risk”
                                                                  risk" exclusions apply; they

are specifically designed to preclude coverage for faulty work that needs to be corrected. (DE 1.)

       19.     McBride claims its economic damages are $1,714,287.59. (Ex. G, Pg. 4.)

        20.     In its answer to Kinsale's
                                 Kinsale’s complaint, McBride even admitted that ETOPSI

“provided McBride with professional services."
"provided                           services.” (DE 12, ¶12, bold added.)


KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT
KINSALE’S                                                                                   PAGE
                                                                                            P AGE 6
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 10 of 28 PageID #: 317



       21.     Moreover, Kinsale retained a notable petroleum engineering expert, J. Daniel

Arthur, P.E.. (Ex. H.) Mr. Arthur agrees with McBride and concludes that all the oil consulting

services that form the basis of the Underlying Action "involve
                                                      “involve specialized oil and gas consulting

services, and each of these tasks required ETOPSI’s                                  experience.”
                                           ETOPSI's specialized skill, training, and experience."

(Ex. H, Pg. 3, ¶11.)

                       ARGUMENT AND CITATION OF AUTHORITY

       Summary Judgment Standard

       Under Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment is required

     “there is no genuine issue as to any material fact and the moving party is entitled to a
when "there

                        law.” Because an insurer's
judgment as a matter of law."            insurer’s duty to defend is a "question
                                                                       “question of law"
                                                                                    law” for the

Court, it is appropriate for resolution by summary judgment. Ooida Risk Retention Group, Inc. v.

Williams,
Williams, 579 F.3d 469, 471-72 (5th Cir. 2009) (applying Texas law).

       Choice of Law

       Where federal court jurisdiction is based on diversity, federal courts follow the choice of

law rules of the forum state. Klaxon v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941). Texas

            “most significant relationship to the particular substantive issue"
follows the "most                                                        issue” test when there is

an actual conflict. See Reddy Ice v. Travelers Lloyds Ins., 145 S.W.3d 337, 340 (Tex. App.

2004). In this action, there is no conflict of law. In addition, the policy was issued and delivered

to ETOPSI in Texas, ETOPSI’s
                    ETOPSI's business is located in Texas, McBride is located in Texas, and

the underlying incident occurred in Texas. See also Tex. Ins. Code Art. 21.42. Accordingly, Texas

law applies.




KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                                 P
                                                                                            PAGE
                                                                                              AGE 7
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 11 of 28 PageID #: 318



       Insurance Policy Interpretation Principles

       Under Texas law, the bedrock principle of insurance law is that an insurance contract is

            “in accordance with the plain meaning of its terms."
interpreted "in                                          terms.” Great Am. Ins. Co. v. Primo, 512

S.W.3d 890, 892 (Tex. 2017). For this reason, a court's
                                                court’s inquiry always begins with "the
                                                                                   “the language

                                                                                 say.” Gilbert
of the policy because we presume parties intend what the words of their contract say."

Texas Const., L.P. v. Underwriters at Lloyd's
                                      Lloyd’s London, 327 S.W.3d 118, 126 (Tex. 2010). In the

absence of any ambiguity, courts should simply apply the plain language of the policy that the

insured purchased. Certain Underwriters at Lloyd's
                                           Lloyd’s London v. C.A. Turner Const. Co. Inc., 112

                              (“Under Texas rules of contractual interpretation, if an insurance
F.3d 184, 186 (5th Cir. 1997) ("Under

contract is expressed in unambiguous language, its terms will be given their plain meaning and it

                    written.”). In applying this rule, a court "may
will be enforced as written.").                                “may neither rewrite the contract nor

add to its language.”
           language." Colony Ins. Co. v. Custom Ag Comms., LLC, 272 F. Supp. 3d 948, 957

(E.D. Tex 2017) (quoting Am. Mfrs. Mut. Ins. v. Schaefer, 124 S.W.3d 154, 157 (Tex. 2003)).

       Duty to Defend Standard

       Generally speaking, for the duty to defend, Texas follows the "eight-corners"
                                                                     “eight-corners” rule. Loya

Ins. Co. v. Avalos, --- S.W.3d ---, 2020 WL 2089752 (Tex. 2020). Under this test, "only
                                                                                  “only the four

corners of the policy and the four corners of the petition against the insured are relevant in

                          applies.” Id. The court must focus on the "factual
deciding whether the duty applies."                                 “factual allegations,"
                                                                             allegations,” and

“not on the legal theories asserted."
"not                       asserted.” Nat. Union Fire Ins. Co. of
                                                               of Pittsburgh v. Merchants Fast

Motor Lines, Inc., 939 S.W.2d 139, 142 (Tex. 1997). If the pleading "does
                                                                    “does not allege facts within

the scope of coverage, an insurer is not legally required to defend a suit against its insured.”
                                                                                       insured." Pine

Oak Builders, Inc. v. Great Am. Lloyds Ins. Co., 279 S.W.3d 650, 654 (Tex. 2009). In May 2020,

the Texas Supreme Court recognized an exception that "a
                                                     “a court may consider extrinsic evidence




KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                                  P
                                                                                             PAGE
                                                                                               AGE 8
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 12 of 28 PageID #: 319



regarding whether the insured and a third party suing the insured colluded to make false

representations of fact in that suit for the purpose of securing a defense and coverage where they

would not otherwise exist.”
                    exist." Avalos, 2020 WL 2089752, at *5.

I.     THERE IS NO "PROPERTY
                   “PROPERTY DAMAGE."
                             DAMAGE.”

       ETOPSI and McBride, as the parties seeking coverage, carry the burden of proving that

         “property damage"
there is "property damage” under the Policy's
                                     Policy’s Insuring Agreement. Nat. Union Fire Ins. Co. v.

Puget Plastics Corp., 532 F.3d 398, 401 (5th Cir. 2008) (applying Texas law). McBride's
                                                                              McBride’s

amended petition describes faulty work that needs to be corrected. As for McBride's
                                                                          McBride’s formulaic

                           “property damage,"
recitations of the phrases "property damage,” "tangible
                                              “tangible property,"
                                                        property,” and "loss
                                                                       “loss of use,"
                                                                                use,” they are

insufficient to explain how any of McBride's
                                   McBride’s other property was damaged. Kinsale is

accordingly entitled to summary judgment

          McBride’s Petition Seeks Purely Economic Damages.
       A. McBride's

       For coverage to exist, the Policy requires "property
                                                  “property damage,"
                                                            damage,” which is defined as:

    “physical injury to tangible property,"
(1) "physical                    property,” or (2) "loss
                                                   “loss of use of tangible property that is not

physically injured.”
           injured." (Ex. E, Pgs. 6, 20.) Otherwise, there is no coverage.

       Regarding the first component of this definition, courts interpreting Texas law have

                                                                     “property damage."
routinely held that analogous claims for fault work do not amount to "property damage.” See PPI
                                                                                            PPI

Technology Services, LP v. Liberty Mut. Ins. Co., 515 F. App'x
                                                         App’x 310, 314 (5th Cir. (Tx.) 2013)

(no property damage in suit between well operator and consultant based on negligent drilling);

Cook v. Admiral Ins. Co., 2:09-cv-0109, 2010 WL 2605256, at *4 (N.D. Tex. June 29, 2010),

aff’d 438 F. App'x
aff'd        App’x 313 (5th Cir. 2011) (no property damage in suit between oil consultant

and subcontractor where subcontractor merely removed too much casing resulting in a shallow

well); Mid-Continent Cas. v. Camaley Energy Co., 364 F. Supp. 2d 600, 605–06
                                                                      605-06 (N.D. Tex.




KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT
KINSALE’S                                                                                 PAGE
                                                                                          P AGE 9
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 13 of 28 PageID #: 320



2005) (despite including the phrase "property
                                    “property damage,”           “clearly did not allege
                                              damage," complaint "clearly

physical injury to tangible property");
                            property”); Lay v. Aetna Ins. Co., 599 S.W.2d 684 (Tex. Civ.

App.—Austin 1980, writ ref’d
                       ref'd n.r.e.) (no property damage in suit involving insured's
                                                                           insured’s failure to

properly locate oil well on operator's
                            operator’s leasehold). Distilled to their essences, all these cases stand

for the general proposition that CGL policies do not cover economic damages from

nonconforming or deficient work. See, e.g., D.R. Horton, Inc. v. Am. Guar., 864 F. Supp. 2d 541,

555 (N.D. Tex. 2012) (defective work itself does not constitute property damage).

       The decision by the Fifth Circuit in PPI
                                            PPI is particularly instructive. There, the underlying

petition alleged a drilling rig was placed in the wrong location. Although the petition generically

                    “caused property damage to [claimant] as an owner in the property where the
alleged the insured "caused

well was being drilled,”           “physical injury to tangible property,"
               drilled," including "physical                    property,” the Fifth Circuit

cogently reasoned that such a formulaic recitation of policy terms did not suffice. The Court

understood that the petition made clear the real issue was the economic damages suffered for

having to re-drill the well. The lesson from PPI
                                             PPI is clear: the mere invocation of conclusory buzz

           “property damage"
words like "property damage” and "tangible
                                 “tangible property"
                                           property” do not create coverage. Rather, the

petition must contain factual allegations of discernable property damage to satisfy the Insuring

Agreement and trigger coverage. See Century Sur. Co. v. Hardscape Const. Spec. Inc., 578 F.3d

262, 267 (5th Cir. 2009) (in assessing the defense obligation the court looks to "the
                                                                                 “the substance of

                                                                   pleaded”) (quoting Jim Walter
the cause of action and not necessarily the manner in which it was pleaded")              Walter

                                            (Tex.1986)).5
Homes, Inc. v. Reed, 711 S.W.2d 617, 617-18 (Tex.1986)).5




5
5                             “physical injury,"
  Regarding what constitutes "physical   injury,” the Supreme Court of Texas has stated "that
                                                                                         “that the best
reading of the standard-form CGL policy text is that physical injury requires tangible, manifest harm
                                                                                              system.”
and does not result merely upon the installation of a defective component in a product or system."
U.S. Metals, Inc. v. Liberty Mut. Grp., Inc., 490 S.W.3d 20, 27 (Tex. 2015).


KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT
KINSALE’S                                                                                     PAGE
                                                                                              P AGE 10
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 14 of 28 PageID #: 321



       Here, just like in PPI, the Underlying Action does not assert any factual allegations

identifying physical injury to "tangible
                               “tangible property."
                                         property.” McBride makes no attempt whatsoever to

             “property damage.”
identify any "property damage." Rather, the operative pleading merely quotes the standardized

language in the Kinsale policy using conclusory and fact-free "labels."
                                                              “labels.” (Ex. C, ¶5.) Moreover,

also like PPI, the gravamen of the Underlying Action is purely economic damage. The lawsuit is

over the economic loss for McBride's
                           McBride’s wasted drilling costs, repair expenses, and lost potential

income. (Id., ¶7.) Stated differently, McBride had to design and drill a new injection well that

worked. This indisputable fact is corroborated by (1) McBride's
                                                      McBride’s concession in this action that its

                             “$1,714,287.59” (Ex. F, Pg. 4), and (2) McBride's
economic damages are exactly "$1,714,287.59"                         McBride’s allegations in

                                                        “correct” ETOPSI’s
the original petition that merely seek reimbursement to "correct" ETOPSI's work (Ex. B, ¶5).

Since these are economic damages—which do not constitute damage to "tangible
                                                                   “tangible property"
                                                                             property”

under Texas law—there is simply no coverage under the Kinsale policy. See PPI, 515 F. App'x
                                                                                      App’x

       (“The allegations in the underlying lawsuits are either for economic damages, and thus not
at 313 ("The

covered, or are legal conclusions, rather than factual allegations as required.”).
                                                                      required."). There is no

coverage.

       B. There Was No "Loss
                         “Loss of Use”
                                  Use" Because the Injection Well Never
          Previously Existed.

       McBride also cannot argue there is somehow "property
                                                  “property damage"
                                                            damage” because McBride

             “loss of use"
suffered the "loss    use” of existing property. This exact argument has been tried and failed. The

Cook case, mentioned above, is virtually directly on point. There, the insured was hired to install

a well casing and oversee the drilling project. The insured made a mistake counting the casing,

and constructed a well that was too shallow. The well had to be "reworked"
                                                                “reworked” before it could be

completed at the correct depth. The district court held that for there to be "loss
                                                                             “loss of use of tangible




KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT
KINSALE’S                                                                                   PAGE
                                                                                            P AGE 11
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 15 of 28 PageID #: 322



property,” the tangible property (i.e., the well) must have been in use prior to the damage.
property,"

The district court explained:

                                                                “tangible property"
       Here, a well completed at the specified depth is not "tangible      property” simply
       because it did not exist at the time of the alleged breach …
                                                                  ... Damages   for repairs or
       for the cost of getting what one desired, but did not receive, are not the same thing
       as damages for loss of use of the thing desired.

Cook, 2010 WL 2605256 at *3.

       Cook compels the same result here. In a blatant ploy to create coverage, McBride's
                                                                                McBride’s

                        “loss of use,"
complaint merely pleads "loss    use,” yet fails to offer any factual allegations of tangible

property. As Cook cogently explained, "[d]amages
                                      “[d]amages for repairs or for the cost of getting what one

desired, but did not receive, are not the same thing as damages for loss of use."
                                                                            use.” Id. Ignoring the

                     “loss of use,”
conclusory labels of "loss                                                               “property
                              use," as this Court must, there is simply no allegation of "property

damage.” Accordingly, Kinsale is entitled to summary judgment. Merchants Fast Motor Lines,
damage."

939 S.W.2d at 142 ("legal
                  (“legal theories"
                          theories” and labels are insufficient to trigger coverage).

II.    THE PROFESSIONAL LIABILITY EXCLUSION BARS COVERAGE.

       Kinsale insured ETOPSI under a general liability policy, not a professional liability

policy. The policy contains a prominent and broad Professional Liability Exclusion. In clear and

easy-to-understand language—starting with an oversized and all-caps title—the Professional

Liability Exclusion plainly provides there is no coverage for "professional
                                                              “professional liability, malpractice,

errors, or omissions or acts of any type including rendering or failure to render any type of

             service.” (Ex. F, Pg. 47.) In other words, the exclusion explains there is no coverage
professional service."

for claims flowing from "any
                        “any type of professional service,"
                                                  service,” without qualification and without

limitation, and regardless of the particular theory of liability. In this case, all the allegations in

the Underlying Action involve professional services provided by ETOPSI. Since the entire




KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                                  P
                                                                                             PAGE
                                                                                               AGE 12
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 16 of 28 PageID #: 323



lawsuit is based on ETOPSI’s “rendering or failure to render any type of professional service,"
                    ETOPSI's "rendering                                               service,”

there is simply no coverage.

       It probably goes without saying, but Professional Liability Exclusions like the one above

serve the purpose of limiting a CGL carrier's
                                    carrier’s exposure in an area in which the insured should

                                       policy.6 Where, as here, a policy does not specifically
have a separate Professional Liability policy.6

                “professional services,"
define the term "professional services,” the "relevant
                                             “relevant definition is that provided by Texas law.”
                                                                                            law."

Admiral Ins. Co. v. Ford, 607 F.3d 420, 425 (5th Cir. 2010) (applying Texas law). Texas courts

                                                 “professional services,"
apply a simple and straightforward definition of "professional services,” as follows:

       The task must arise out of acts particular to the individual's
                                                          individual’s specialized vocation,
       [and] ... it must be necessary for the professional to use his specialized knowledge
       or training.

         Lloyd’s Ins. Co. of
See Atl. Lloyd's          of Tex. v. Susman Godfrey, LLP., 982 S.W.2d 472, 476-77 (Tex. App.—

             pet. denied). Stated differently, a "professional
Dallas 1998, pet.                                “professional service"
                                                               service” is an act that "uses
                                                                                       “uses the

                                profession.” Id. at 476.
inherent skills typified by the profession."

       A. McBride Admits it Sued ETOPSI for Professional Services.

       Texas courts have repeatedly applied the Professional Liability Exclusion to oil and

gas consulting services. For example, in Admiral Ins. Co. v. Ford, the Fifth Circuit applied

a Professional Liability Exclusion under virtually identical facts. There, Ford, an "oil
                                                                                    “oil and gas

consultant,” obtained a CGL policy from Admiral. See 607 F.3d at 422. The Admiral policy
consultant,"




6
6See Wilcox v. Am. Home Assur. Co., 900 F. Supp. 850, 859 (S.D. Tex. 1995) ("The
                                                                              (“The State Farm and
American Home policies could not be ‘stacked’
                                        'stacked' because they did not overlap. … ... The American
Home policy is strictly a professional liability policy for errors and omissions …
                                                                                 ... while the State
Farm policy is a commercial general liability policy with an express exclusion for professional
services[.]”).
services[.]").



KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                                P
                                                                                           PAGE
                                                                                             AGE 13
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 17 of 28 PageID #: 324



                                                                                           case.77
contained a Professional Liability Exclusion materially identical to the exclusion in this case.

Ford was hired by Exco "to
                       “to create a drilling plan for an oil well and to consult and assist in the

                well.” Id. During drilling, the well blew out. Exco sued Ford claiming Ford failed
drilling of the well."

“to perform adequate and competent drilling operations,"
"to                                         operations,” including failures to "inspect
                                                                               “inspect the drill

pipe,” "instruct
pipe," “instruct the mud logger,” “look for and report metal shavings,"
                         logger," "look                      shavings,” and "use
                                                                            “use ditch magnets."
                                                                                       magnets.”

Id. at 425. Exco also alleged that "not
                                   “not all operations of Ford's
                                                          Ford’s were professional in nature."
                                                                                      nature.” Id.

The insurer claimed that the Professional Liability Exclusion barred coverage, because the

underlying conduct required Ford's
                            Ford’s "specialized
                                   “specialized or technical knowledge.”
                                                             knowledge." The trial court denied

Admiral’s motion and ruled in favor of Ford.
Admiral's

        On appeal, the Fifth Circuit reversed. The Court started by explaining that the duty to

       “must focus on the factual allegations in the underlying pleading rather than the legal
defend "must

         alleged.” Id. at 424. Consequently, the Court was "not
theories alleged."                                         “not bound by"
                                                                      by” Exco’s “bald” and
                                                                          Exco's "bald"

“self-serving” statement that "not
"self-serving"                “not all of Ford's
                                          Ford’s operations were professional in nature."
                                                                                 nature.” Id. at

425. Turning to the factual allegations, the Fifth Circuit held that the Professional Liability

Exclusion easily applied, because the crux of "the
                                              “the underlying suit alleges the existence of and

failure to fulfill a contract, the very subject of which was Ford's
                                                             Ford’s expertise in drilling operations."
                                                                                          operations.”

Id. at 426. Further, the insured could not sidestep the exclusion merely because "some
                                                                                 “some breaching

                                      nature.” Id. To adopt that interpretation would render
conduct was arguably non-technical in nature."

              “almost meaningless,"
the exclusion "almost meaningless,” because "the
                                            “the implementation of a drilling plan invariably

                tasks.” Id. In other words, Ford could not avoid the exclusion by fragmenting the
involves menial tasks."

“professional service"
"professional service” into granular bits.



7
  The relevant policy language provided that "this “this insurance does not apply to ‘bodily      injury,’
                                                                                         'bodily injury,'
‘property
`property damage,’
          damage,' ‘personal
                     personal injury,’
                               injury,' or ‘advertising injury’ due to the rendering or failure to render
                                           'advertising injury'
                 service.” Id. at 422.
any professional service."


KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT
KINSALE’S                                                                                       PAGE
                                                                                                P AGE 14
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 18 of 28 PageID #: 325



       Like the insured in Ford, McBride sued ETOPSI for failing to successfully implement

                                          “oil and gas industry consultant”
and build a well. ETOPSI was hired as the "oil                  consultant" and its operations

                                               “designing” the well, (2) "engaging"
included everything to construct the well: (1) "designing"               “engaging” the drilling

                “consulting” and "advising"
contractor, (3) "consulting"     “advising” the owner, (4) "deciding"
                                                           “deciding” the total depth, and

    “controlling” drilling operations. (Ex. D, ¶5.) On 10/25/2017, ETOPSI "decided"
(5) "controlling"                                                         “decided” that drilling

    “complete.” (Id.) McBride claims that ETOPSI "negligently"
was "complete."                                  “negligently” performed its "consulting
                                                                             “consulting

                       work,” and "failed
services, product, and work,"     “failed to fulfill the terms of the contract or agreement between

              [ETOPSI].” (Id., ¶¶5,6.) In other words, the Underlying Action "alleges
[McBride] and [ETOPSI]."                                                     “alleges the

existence of and failure to fulfill a contract, the very subject of which was"
                                                                          was” ETOPSI’s
                                                                               ETOPSI's expertise.

Ford, 607 F.3d at 426. The Professional Liability Exclusion accordingly applies.

       Other courts have sensibly agreed. In Universal Cas. Co. v. A.E. Consultants, LLC, No.

H-08-849, 2009 WL 10697417 (S.D. Tex. June 26, 2009) (applying Texas law), a sister court in

the Southern District of Texas interpreted a similar Professional Liability Exclusion under

analogous facts. There, Universal issued a CGL policy to A.E. Consultants ("AEC").
                                                                          (“AEC”). Similar to

                                                   AEC’s operations as "Oil
the Kinsale policy, the Universal policy described AEC's               “Oil & Gas Consultant—

            Work.” Id., at *1, *6. A well operator, Block T, retained AEC as the industry
No Hands on Work."

consultant to build a well. According to operative pleading, AEC was required to "measure
                                                                                 “measure and

count” casing joints, "supervise"
count"                “supervise” the placement of casing joints in the well hole, and "submit"
                                                                                       “submit” a

pipe tally. Id. Block T alleged that AEC erroneously counted the number of joints, resulting in

casing that was cemented 400 feet above the well's
                                            well’s pay zone. Block T sued AEC for

“negligently measuring and tallying the casing joints,"
"negligently                                   joints,” which resulted in "permanent
                                                                          “permanent damage to

    well.” Id. at *5. Universal denied coverage under a similarly worded Professional Liability
the well."




KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                               P
                                                                                          PAGE
                                                                                            AGE 15
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 19 of 28 PageID #: 326



Exclusion, which barred coverage for "the
                                     “the rendering or failure to render any professional

services.” Id. at *4, *7.
services."

        On cross-motions for summary judgment, the court held that the exclusion applied. Like

McBride will probably argue here, AEC/Block T attempted to avoid the exclusion by

downplaying the tasks as requiring "no
                                   “no specialized training beyond ‘grade school.’” Id. at *5.
                                                                   'grade school.'"

But, the court was not persuaded. First, the court explained that "AEC
                                                                  “AEC was not simply required to

                           joints.” Rather, the allegations described several tasks—
count the number of casing joints."

                                                          “particular to AEC's
measurement, supervision, and reporting—all of which were "particular    AEC’s specialized

vocation as an oil and gas consultant.”
                           consultant." Id. at *6. Moreover, the court found it "instructive"
                                                                                “instructive” that

Block T hired AEC to perform the work that it now claimed was defective: "If,
                                                                         “If, as [Block

T/AEC] contend, the acts AEC performed were simply ordinary tasks, then there would have

been little need for Block T, the Well's
                                  Well’s operator and drilling contractor, to hire an outside oil and

gas consulting firm.”
               firm." Id. Since the alleged negligence forming the basis of the suit "involves
                                                                                     “involves oil

and gas consulting,”
        consulting," the Professional Liability Exclusions eliminated coverage entirely.

        The Ford and Universal decisions are hardly unique. Numerous other courts interpreting

Texas law have applied the Professional Liability Exclusion in the context of oil and gas

services. See CBX
              CBX Resources, LLC v. Ace Am. Ins. Co., 282 F. Supp. 3d 948, 962-64 (W.D. Tex.

2017) (no coverage under Professional Liability Exclusion for insured's
                                                              insured’s oil drilling services,

including construction, surface casing, and supervision operations); Nicklos Drilling Co. v. Ace

American Ins. Co., No. V-14-021, 2014 WL 6606575, at *3 (S.D. Tex. Nov. 5, 2014) (no

coverage under Professional Liability Exclusion for insured’s
                                                    insured's oil drilling services, including

construction and monitoring operations); Utica Lloyd's
                                               Lloyd’s of
                                                       of Texas v. Sitech Engineering Corp., 38

S.W.3d 260, 264 (Tex. App.—Texarkana 2001) (no coverage under Professional Liability




KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                                 P
                                                                                            PAGE
                                                                                              AGE 16
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 20 of 28 PageID #: 327



Exclusion for insured's
              insured’s excavation services, including inspection, design, and supervision

operations).

       B. ETOPSI Provided McBride with Professional Services.

       In this case, the allegations in the Underlying Action are simple and straightforward.

McBride alleges ETOPSI was the "oil
                               “oil and gas industry consultant"
                                                     consultant” for McBride #1. (Ex. D, ¶5.)

ETOPSI "designed"
       “designed” the well, "engaged"
                            “engaged” the drilling contractor, "consulted"
                                                               “consulted” and "advised"
                                                                               “advised” the

       “decided” the hole depth and casing, and "control[led]"
owner, "decided"                                “control[led]” the drilling operations. (Id.)

Further, on 10/25/2017, ETOPSI "decided"
                               “decided” that the drilling on the well was complete. (Id.) Thus,

                               “arise out of acts particular to"
all of the factual allegations "arise                        to” ETOPSI’s “specialized vocation"
                                                                 ETOPSI's "specialized vocation” as

   “oil industry consultant.”
an "oil          consultant." Ford, 607 F.3d at 423. The allegations here are analogous to the

“inspect,” "instruct,"
"inspect," “instruct,” "look
                       “look for,” “report,” and "use"
                             for," "report,"     “use” allegations in Ford, as well as the "offload,"
                                                                                           “offload,”

“measure,” "count,"
"measure," “count,” "supervise,"
                    “supervise,” and "submit"
                                     “submit” allegations in Universal. For the same reason that

the Professional Liability Exclusion applied there, it similarly precludes coverage here.

       Additionally, all the alleged tasks actually require ETOPSI’s “specialized knowledge
                                                            ETOPSI's "specialized

   training.” It is common sense that ordinary laypersons cannot "design,"
or training."                                                    “design,” "engage,"
                                                                           “engage,” "consult,"
                                                                                     “consult,”

“advise,” "decide,"
"advise," “decide,” or "control"
                       “control” any activity in the oil drilling and oil consulting industry.

                                              “specialized knowledge”
Rather, these operations require considerable "specialized knowledge" in oil and gas consulting,

including knowledge in geology, geophysics, well construction, project management, and risk

analysis. Indeed, if "the
                     “the acts [ETOPSI] performed were simply ordinary tasks, then there would

have been little need for [McBride] …
                                    ... to hire an outside oil and gas consulting firm like

[ETOPSI].” Universal, 2009 WL 10697417, at *6. Accordingly, the Professional Liability
[ETOPSI]."

Exclusion applies.




KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                                 P
                                                                                            PAGE
                                                                                              AGE 17
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 21 of 28 PageID #: 328



       Moreover, all the factual allegations that form the basis of the Underlying Action directly

involve oil consulting services. McBride admits “ETOPSI provided McBride with professional
                                                "ETOPSI provided              professional

services” as alleged in the Underlying Action. (DE 12, ¶12.) That concession alone should be
services"

dispositive, since McBride is the master of its theory of liability and controls its pleading.

       The allegations also make clear that the claims arose out ETOPSI’s
                                                                 ETOPSI's professional services.

                    ETOPSI’s "consulting
McBride claims that ETOPSI's “consulting services, product, and work"
                                                                work” were negligent, and

                                  “contract,” "agreement,"
the negligent services breached a "contract," “agreement,” or "warranty."
                                                              “warranty.” (Ex. D, ¶5.) Nowhere

in the five-page petition does McBride seek damages for any wrongdoing unrelated to ETOPSI’s
                                                                                    ETOPSI's

specific consulting expertise. Regardless, the Fifth Circuit's
                                                     Circuit’s published decision instructs that

even if some conduct could conceivably qualify as "non-technical
                                                  “non-technical in nature,"
                                                                    nature,” the Professional

Liability Exclusion nonetheless applies. Ford, 607 F.3d at 423 ("the
                                                               (“the implementation of a drilling

                                tasks”).
plan invariably involves menial tasks").

        Finally, the above conclusions are directly supported by Kinsale's
                                                                 Kinsale’s petroleum engineering

expert, J. Daniel Arthur, P.E. According to Mr. Arthur, "oil
                                                        “oil and gas consultants offering and

performing these type of professional services are highly specialized, having highly technical

skills, college degrees, applicable training, and significant specialized experience.”
                                                                          experience." (Ex. H, Pgs.

2-3, ¶6.) Mr. Arthur concluded that the allegations against ETOPSI in the Underlying Action

                                                                     “designing an injection well"
arise of acts particular to oil consultation services. For instance, "designing              well”

         “highly specialized professional skills, knowledge, and experience.”
requires "highly                                                 experience." (Id., ¶8.) Moreover,

“engaging a drilling contractor"
"engaging            contractor” requires significant knowledge of the oil industry and

considerable expertise, including "an
                                  “an ‘in
                                      'in depth’
                                          depth' understanding of petroleum engineering,

geology, geophysics, injection reservoir analysis, expertise/experience with the Underground

Injection Control Program, project and contract management, and risk analysis."
                                                                     analysis.” (Id., ¶9.) Last,




KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                                  P
                                                                                             PAGE
                                                                                               AGE 18
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 22 of 28 PageID #: 329



services like "decisions,
              “decisions, advice, and consultation"
                                      consultation” require individuals "with
                                                                        “with specialized

                                                                     training.” (Id., ¶10.) In
vocational/professional backgrounds having specialized knowledge and training."

short, Mr. Arthur agrees that ETOPSI’s
                              ETOPSI's services arise out of acts particular to oil consulting

services, and all of the alleged acts require ETOPSI’s “specialized skill and knowledge."
                                              ETOPSI's "specialized           knowledge.”

(Id., ¶11.)

        Kinsale is entitled to summary judgment.

III.    THE POLICY’S
            POLICY'S J.(5) AND J.(6) EXCLUSION BAR COVERAGE.

        There is also no coverage under the policy's
                                            policy’s j.(5) and j.(6) "business
                                                                     “business risk"
                                                                               risk” exclusions.

These types of exclusions preclude "coverage
                                   “coverage for certain risks relating to the repair or

                   insured’s faulty work or products or defects in the insured's
replacement of the insured's                                           insured’s work or product

                                                                                      2015).8
itself.” Dallas Nat. Ins. Co. v. Calitex Corp., 458 S.W.3d 210, 222 (Tex. App.—Dallas 2015).8
itself"

These exclusions "are
                 “are intended to provide coverage for tort liability, not for the contractual

liability of the insured for loss that occurs because the product or completed work was not that

for which the other party bargained."
                          bargained.” Indian Harbor Ins. Co. v. KB Lone Star, Inc., H-11-CV-

1846, 2012 WL 3866858 (S.D. Tex. Sept. 5, 2012) (citing T.C. Bateson Const. Co. v.

Lumbermens Mut. Cas. Co., 784 S.W.2d 692, 694-95 (Tex. App.—Houston [14th Dist.] 1989).
Lumbermen

        The j.(5) exclusion applies "[t]o
                                    “[t]o that particular part of real property on which you or any

contractors or subcontractors working directly or indirectly on your behalf are performing

operations, if the ‘property
                   'property damage’                     operations.” (Ex. E, Pg. 9.) Similarly, the
                             damage' arises out of those operations."

                           “[t]hat particular part of any property that must be restored, repaired or
j.(6) exclusion applies to "[t]hat

replaced because ‘your work’ was incorrectly performed on it.”
                 'your work'                              it." (Id.) These exclusions apply to

8
8          Nat’l Union Fire Ins. Co. of
  See also Nat'l                     of Pittsburgh v. Puget Plastics Corp., 450 F. Supp. 2d 682, 696
                   aff’d sub nom. 532 F.3d 398 (5th Cir. 2008) ("The
(S.D. Tex. 2006) aff'd                                            (“The purpose of a ‘business
                                                                                      'business risk’
                                                                                                risk'
exclusion is to protect insurers from damages to an insured's
                                                       insured’s product by his own hand, as this is
                                     business.”) (citing Comsys Info. Tech. Svcs., Inc. v. Twin City
typically considered a cost of doing business.")
Fire Ins. Co., 130 S.W.3d 181, 196 (Tex. App.—Houston [14th Dist.] 2003)).


KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT
KINSALE’S                                                                                   PAGE
                                                                                            P AGE 19
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 23 of 28 PageID #: 330



“circumstances where the contractor or subcontractors are currently working on the project."
"circumstances                                                                     project.” See,

e.g., Jim Johnson Homes, Inc. v. Mid-Continent Cas. Co., 244 F. Supp. 2d 706, 719 (N.D. Tex.

2003) (citations and quotations omitted).

       Several courts have applied these exclusions to identical well construction operations. For

instance, in Cook v. Admiral Ins. Co., 438 F. App'x
                                              App’x 313, 318 (5th Cir. 2011) (applying Texas

law), the Fifth Circuit held that a CGL insurer had no duty to defend an insured contractor who

had been hired by an oil well owner to deliver and oversee installation of casing in an oil well.

The Fifth Circuit explained that the "[p]lain
                                     “[p]lain language of exclusion j.(5) makes it applicable to

property damage that ‘arises     of’ operations that take place while the insured is performing
                     'arises out of'

operations.” Id. The appellate court then found that the exclusion was applicable because the
operations."

underlying lawsuit arose from the fact that "[t]he
                                            “[t]he well was completed to the incorrect depth …
                                                                                             ...

while [the insured] was ‘delivering                                               well.’” Id.
                        'delivering and overseeing the running of casing on [the] well.'"

       Even more recently, in 2017, a district court in the Western District of Texas applied the

j.(5) exclusion to preclude damages for the total loss of a well that occurred during drilling

operations. In CBX
               CBX Resources, LLC v. Ace Am. Ins. Co., 282 F. Supp. 3d 948 (W.D. Tex. 2017),

                               “was contracted to perform work during, and to oversee,
an insured drilling consultant "was

                           well.” The insured's
construction of the entire well."     insured’s work caused the well casing to become fractured,

plugged, and abandoned. In the subsequent suit against the insured, the plaintiff alleged damages

for "drilling
    “drilling operations, surface casing, unrecovered production casing, the Well and the well

                                      lease.” Construing the plain language of the policy, the court
bore, the oil and gas itself, and the lease."

              “property damage alleged by CBX, including the physical injury to, and loss of
held that the "property

use of, the Well falls within the ‘property damage’ exclusion in paragraph j.(5) and is excluded
                                  'property damage'

     coverage.” Id. at 959.
from coverage."




KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                                P
                                                                                           PAGE
                                                                                             AGE 20
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 24 of 28 PageID #: 331



        Finally, in Mid-Continent Cas. Co. v. Camaley Energy Co., Inc., 364 F. Supp. 2d 600

(N.D. Tex. 2005), the district court applied the j.(5) exclusion under analogous facts. There, the

insured accidentally lost control of an oil well bore and deviated into another lease. The court

held that because the alleged property damage occurred while the insureds were drilling on the

plaintiff’s lease, the damages fell squarely within the j.(5) exclusion. The court noted that the
plaintiff's

insureds were being sued by the owners of the neighboring property for property damage, then

exclusion j.(5) would be inapplicable because the insureds were not performing work on their

neighboring property. Because the insureds were being sued by the plaintiff leaseholders, for

property damage inflicted on their own lease, the "damages
                                                  “damages [fell] squarely within exclusion

‘j(5).’”        607.9
`j(5).'" Id. at 607.9

        Applying the reasoned logic of all these cases here, exclusion j.(5) applies because: (1)

    “property damage"
the "property damage” occurred to real property where ETOPSI was performing operations (i.e.,

constructing an injection well); and, (2) the alleged damage "arose
                                                             “arose out of
                                                                        of” ETOPSI’s
                                                                            ETOPSI's operations.

The factual allegations in the Underlying Action could not be any clearer. ETOPSI was hired as

    “industry consultant”
the "industry consultant" for completion of an "injection
                                               “injection well."
                                                          well.” (Ex. D, ¶5; DE 5, ¶11.) ETOPSI

designed the well, engaged the driller, decided the depth, set the casing, and decided when

drilling was complete. (Id.) Thus, just like the insureds in Cook and CBX
                                                                      CBX Resources, ETOPSI

was responsible for the entire project. (Id.) Further, all the alleged damage occurred to real

property where ETOPSI was performing operations and arose out of those operations. Aside


9
9 See also Admiral Ins. Co. v. Little Big Inch Pipeline Co., Inc., 523 F. Supp. 2d 524, 541 (W.D. Tex.
                     “Exclusion j.(5) clearly applies to the damage caused by [the insured] excavating
2007) (holding that "Exclusion
the gas lines, destroying the foundations and concrete slabs, and piling up the leftover debris
[because] [s]uch damage occurred on the real property that [the insured] was working on");
                                                                                         on”); Houston
Bldg. Serv., Inc. v. Am. Gen. Fire & Cas. Co., 799 S.W.2d 308, 311 (Tex.App—Houston [1st Dist.]
1990) (finding j.(5) exclusion precluded coverage for damage occurring while insured janitorial
company was cleaning building because operations had not been completed).



KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT
KINSALE’S                                                                                    PAGE
                                                                                             P AGE 21
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 25 of 28 PageID #: 332



from the well itself, McBride specifically alleges that ETOPSI’s              “the structures of
                                                        ETOPSI's work damaged "the

                                                           future.” Accordingly, the allegations
the earth and prevent this wellbore from being used in the future."
                                                                               10
fall squarely within the plain terms of the j.(5) Damage to Property Exclusion.
                                                                     Exclusion.1°

       Last, the factual allegations unequivocally confirm that the damage occurred during

the ongoing performance of ETOPSI’s
                           ETOPSI's operations. ETOPSI was responsible for providing a

            “injection well."
functioning "injection well.” (Ex. D, ¶5.) On 10/25/2017, ETOPSI decided "drilling
                                                                         “drilling …
                                                                                   ... was

complete.” (Id.) For purposes of j.(5), the damage accordingly occurred on this date and while
complete."

ETOPSI was performing operations. See, e.g., Cook 438 F. App'x
                                                         App’x at 318 ("Here,
                                                                      (“Here, the ‘property
                                                                                  'property

damage,’ i.e., the completion of the well at an incorrect depth, undeniably arose out of
damage,'                                                                              of [the

insured]’s operations[.]")
insured]'s operations[.]”) (emphasis in original). Even more, the operative petition alleges

ETOPSI was performing operations after the drilling was complete. To be certain, the petition

alleges that ETOPSI "caused
                    “caused various fluids, muds, and other substances to be injected into the

wellbore,” which reached near the "geologic
wellbore,"                        “geologic formation."
                                            formation.” (Ex. D, ¶5.) Accordingly, the factual

                                                                   judgment.11
allegations trigger the exclusions. Kinsale is entitled to summary judgment."

IV.    BECAUSE KINSALE HAS NO DUTY TO DEFEND, THERE IS NO DUTY
       TO INDEMNIFY.

       The same reasons that negate the duty to defend likewise negate any possibility there

could ever be a duty to indemnify. Accordingly, Kinsale is entitled to a judgment that there is no

duty to indemnify. See Farmer Tex. Cnty Ins. Co. v. Griffin, 955 S.W.2d 81, 84 (Tex. 1997).

10
1° It is well-settled that wells, including injection wells, constitute real property. See, Francis v.
Coastal Oil & Gas Corp., 130 S.W.3d 76, 85 (Tex. App.—Houston
                                                         App.–Houston [1st Dist.] 2003) (noting that
“settled law recognize[es] that mineral wells constitute improvements to real property");
"settled                                                                           property”); Bosque
Disposal Sys., LLC v. Parker Cnty. Appraisal Dist., 555 S.W.3d 92, 97 (Tex. 2018) (concluding that
“disposal wells"
"disposal wells” are "real
                      “real property"
                            property” because they are improvements to land).
11
  For the sake of simplicity, Kinsale focused its analysis on exclusion j.(5). For all the reasons that
the j.(5) exclusion applies, however, the j.(6) exclusion likewise applies. Cook, 438 F. App'x
                                                                                         App’x at 318
(applying j.(5) and j.(6) interchangeably under analogous facts).



KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT
KINSALE’S                                                                                     PAGE
                                                                                              P AGE 22
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 26 of 28 PageID #: 333



V.      THERE ARE NO APPLICABLE AFFIRMATIVE DEFENSES.

        McBride raised no affirmative defenses. McBride's
                                                McBride’s counterclaim only asserts that the

exception to the j.(6) exclusion somehow creates coverage. (DE 5, Pg. 7.) This argument has no

merit. It violates long standing Texas law that an exception to an exclusion does not "create"
                                                                                      “create”

coverage, or otherwise nullify specific policy exclusions. See, e.g., United Nat. Ins. Co. v. Hydro

Tank, Inc., 497 F.3d 445, 453 (5th Cir. 2007) ("Motiva's
                                              (“Motiva’s reading of the United National

[endorsement] would require this court to hold that an exception to an exclusion contained in an

         policy’s [endorsement] can impliedly neutralize all other specific exclusions to
umbrella policy's

                                             result.”).12
coverage. We decline to reach this anomalous result.").

        ETOPSI asserted two affirmative defenses. (DE 6, Pg. 7.) The first is that ETOPSI

believes the policy is ambiguous, but fails to explain why. ETOPSI’s
                                                            ETOPSI's first affirmative defense

fails. Am. Mfrs. Mut. Ins. Co. v. Schaefer, 124 S.W.3d 154, 157 (Tex. 2003) ("An
                                                                            (“An ambiguity

exists only if the contract language is susceptible to two or more reasonable interpretations.").
                                                                              interpretations.”).

        ETOPSI’s
        ETOPSI's second affirmative defense is that Kinsale waived and is estopped regarding

             “Underground Resources and Equipment Hazard"
coverage for "Underground                         Hazard” ("UREH").
                                                          (“UREH”). (DE 6, Pg. 7.)

This affirmative fails for several reasons. First, "it
                                                   “it is well-settled Texas law that doctrines of

waiver and estoppel cannot be used to create insurance coverage where none exists under

                 policy.” Little Big Inch Pipeline, 523 F. Supp. 2d at 543. Second, the UREH
the terms of the policy."

does not apply in the first place, since it only applies when there are factual allegations of

“property damage."
"property damage.” As discussed above, the underlying petition fails to assert any covered


12
   Further, the exception to the j.(6) exclusion provides that it does not apply to property damage
“in the ‘product-completed
"in                                        hazard."' Here, ETOPSI’s
         'product-completed operations hazard.’”           ETOPSI's injection well never worked;
accordingly, it does not fall within the "products-completed
                                         “products-completed operations hazard."
                                                                         hazard.” To the extent that it
               Policy’s Your Work Exclusion (exclusion 1.)
did work, the Policy's                                     l.) precludes coverage. See, e.g., Wilshire
Ins. Co. v. RJT
            RJT Const., LLC, 581 F.3d 222, 226 (5th Cir. 2009) ("The
                                                                 (“The ‘your work’ exclusion prevents
                                                                       'your work'
a CGL policy from morphing into a performance bond covering an insured's
                                                                    insured’s own work.").
                                                                                  work.”).


KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT
KINSALE’S                                                                                     PAGE
                                                                                              P AGE 23
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 27 of 28 PageID #: 334



“property damage."
"property damage.” Accordingly, the UREH does not apply. Third, assuming "property
                                                                         “property damage”
                                                                                   damage"

existed, the UREH is irrelevant. The UREH does not modify the insuring agreement, nor does

it eliminate or modify any of the exclusions referenced above. Rather, the UREH performs

two narrow functions: (1) it reduces the aggregate limit from $2 million to $1 million for certain

claims involving underground resources; and, (2) it modifies the j.(4) exclusion, which only

           “personal property."
applies to "personal property.” Neither of these issues are relevant here. The affirmative defense

therefore totally fails.

VI.     ETOPSI IS NOT ENTITLED TO DAMAGES UNDER CHAPTER 542.

        Finally, ETOPSI pleads entitlement to damages under Chapter 542. (DE 6, Pgs. 11-12.)

To bring a successful Chapter 542 claim, however, a plaintiff must establish that the insurer is

“liable for the claim."
"liable         claim.” Tex. Ins. Code § 542.060(a); see also Weiser–Brown
                                                              Weiser—Brown Operating Co. v. St.

Paul Surplus Lines Ins. Co., 801 F.3d 512, 518 (5th Cir. 2015). Further, an insurer that has not

breached the policy generally cannot be liable for Insurance Code violations. Canutillo Indep.

Sch. Dist. v. Nat'l
              Nat’l Union Fire Ins. Co. of
                                        of Pittsburgh, 99 F.3d 695, 709 (5th Cir. 1996) (citing

Republic Ins. Co. v. Stoker, 903 S.W.2d 338, 341 (Tex. 1995)). Because Kinsale never had a

duty to defend, it did not breach the Policy and cannot be liable under the statute.

                                         CONCLUSION

        ETOPSI failed to design and deliver a functioning injection well. McBride had to incur

the expense of designing and implementing a second injection well that would work. For all the

reasons detailed above, there is no coverage under the policy. Accordingly, Kinsale respectfully

requests that the Court enter summary judgment in its favor.




KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                              P
                                                                                         PAGE
                                                                                           AGE 24
Case 6:19-cv-00413-JCB Document 36 Filed 05/18/20 Page 28 of 28 PageID #: 335



                                                 Respectfully submitted,
                                                 /s/ ANDRES CORDOVA
                                                 ANDRES C
                                                 ANDRES CORDOVA
                                                         ORDOVA
                                                 Florida Bar No. 0118147
                                                 andres.cordova@clydeco.us
                                                 Admitted Pro Hac Vice
                                                                   Vice
                                                 Clyde & Co US LLP
                                                 1221 Brickell Avenue
                                                 Suite 1600
                                                 Miami, Florida
                                                 ATTORNEYS FOR PLAINTIFF
                                                 KINSALE INSURANCE COMPANY


                             CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document has been served on all counsel of

record via the CM/ECF system, on May 18, 2020.

                                                 //s/ANDRES
                                                   S/ANDRES CORDOVA
                                                 ANDRES CORDOVA




KINSALE’S
KINSALE'S MOTION FOR FINAL SUMMARY JUDGMENT                                         P
                                                                                    PAGE
                                                                                      AGE 25
